 Case 8:22-cv-00099-DOC-DFM Document 357 Filed 06/08/22 Page 1 of 3 Page ID #:5764

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12                        UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

14   JOHN C. EASTMAN,                      Case No.: 8:22-cv-00099-DOC-DFM
15                        Plaintiff,       MOTION TO SEAL
     vs.
16
                                           Judge: Hon. David O. Carter
     BENNIE G. THOMPSON, et al.
17
                          Defendants
18

19
           Comes now the plaintiff, Dr. John Eastman, pursuant to Local Rule 79, and
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     moves to seal the accompanying Motion for Extension of Time for final privilege
21
     production. As is apparent from the filing, it contains personal information not
22
23   appropriate for the public docket, especially in a controversial case.

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27   PLAINTIFF’S STATEMENT OF DISPUTED FACTS – PAGE 1
 Case 8:22-cv-00099-DOC-DFM Document 357 Filed 06/08/22 Page 2 of 3 Page ID #:5765

 1   June 8, 2022                     Respectfully submitted,
 2
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27   PLAINTIFF’S STATEMENT OF DISPUTED FACTS – PAGE 2
 Case 8:22-cv-00099-DOC-DFM Document 357 Filed 06/08/22 Page 3 of 3 Page ID #:5766

 1
                           CERTIFICATE OF SERVICE
 2
         I have served this filing on all counsel through the Court’s ECF system.
 3
                                         Respectfully submitted,
 4
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27   PLAINTIFF’S STATEMENT OF DISPUTED FACTS – PAGE 3
